                                                                                                Case 2:18-cv-00304-RFB-DJA Document 217 Filed 03/03/21 Page 1 of 3



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                                                                                      8
                                                                                                               UNITED STATES DISTRICT COURT
                                                                                      9
                                                                                                                       DISTRICT OF NEVADA
                                    7440 WEST SAHARA AVE., LAS VEGAS, NEVADA 89117




                                                                                     10
                                                                                          JAVIER CABRERA, an individual;               Case No.: 2:18-cv-00304-RFB-DJA
CHRISTENSEN JAMES & MARTIN, CHTD.

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                                                                                     11   DEBORAH MILLER, an individual,
                                                                                          CHERIE MANCINI, an individual;
                                                                                     12   NEVADA SERVICE EMPLOYEES
                                                                                     13   UNION STAFF UNION (“NSEUSU”),                STIPULATION REGARDING
                                                                                          an unincorporated association,               MOTIONS TO BE ARGUED ON
                                                                                     14                                                MARCH 12, 2021
                                                                                     15
                                                                                                              Plaintiffs,
                                                                                          vs.
                                                                                     16
                                                                                          SERVICE EMPLOYEES
                                                                                     17   INTERNATIONAL UNION, a nonprofit
                                                                                     18   cooperative corporation; LUISA BLUE,
                                                                                          in her official capacity as Trustee of
                                                                                     19   Local 1107; MARTIN MANTECA, in
                                                                                     20
                                                                                          his official capacity as Deputy Trustee of
                                                                                          Local 1107; MARY K. HENRY, in her
                                                                                     21   official capacity as Union President;
                                                                                          CLARK COUNTY PUBLIC
                                                                                     22   EMPLOYEES ASSOCIATION dba
                                                                                     23   NEVADA SERVICE EMPLOYEES
                                                                                          UNION aka SEIU LOCAL 1107, a
                                                                                     24   nonprofit cooperative corporation;
                                                                                     25
                                                                                          CAROL NIETERS, an individual; DOES
                                                                                          1-20; and ROE CORPORATIONS 1-20,
                                                                                     26   inclusive,
                                                                                     27                           Defendants.
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 1          The parties hereby stipulate to the following regarding the Motions scheduled
 2   for hearing on March 12, 2021:
 3   1.     Plaintiffs filed the document titled Plaintiff Mancini’s Motion to Reconsider
 4          the Court’s Order Granting Defendants’ Motions to Dismiss and Motion for
 5          Sanctions on June 12, 2020 (herein “Reconsideration Motion”). The
 6          Reconsideration Motion is numbered as ECF No. 155.
 7   2.     Plaintiffs filed the document titled Plaintiffs’ Motion for Partial Summary
 8          Judgment on July 22, 2020 (herein “Summary Judgment Motion”). The
 9          Summary Judgment Motion is numbered as ECF No. 172.
10   3.     Plaintiffs sought to comply with LR IC 2-2(g) by submitting to Chambers
11          paper copies of the Reconsideration Motion and the Summary Judgment, but
12          the Clerk’s Office was closed because of the COVID 19 pandemic. Plaintiffs
13          therefore deposited the paper copies in the Court’s drop box believing that they
14          would be delivered to Chambers.
15   4.     However, the paper copies deposited in the Court’s drop box were filed into
16          the Court’s Docket, which resulted in duplicate filings of Reconsideration
17          Motion and the Summary Judgment Motion.
18   5.     The Reconsideration Motion therefore appears on the Court’s Docket as ECF
19          Nos. 172 and 177.
20   6.     The Motion for Summary Judgment therefore appears on the Court’s Docket
21          as ECF Nos. 155 and 178.
22   7.     Due to the error in duplicate filings, the Court may disregard the documents
23          filed in error as ECF Nos. 177 and 178.
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25   ///
26   ///
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     CHRISTENSEN JAMES & MARTIN              ROTHNER, SEGALL & GREENSTONE
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